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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA                         Criminal no. 17-034 (DRD)
   Plaintiff,                                                  16-148 (JAG)
                 v.

 ALBERTO CABRERO-CABRERA
   Defendant.


                           Motion to Continue Sentencing Hearing
TO THE HONORABLE COURT:


       Comes now the defendant, Mr. Alberto Cabrero-Cabrera, and respectfully states and prays

as follows:


       1.      Since Chief Judge Gelpi's Order (Docket 13, 20-mc-0088), the undersigned has had

two conversations with Mr. Cabrero-Cabrera, who is detained at MDC-Guaynabo. During both

conversations, the Mr. Cabrero-Cabrera expressed his desire to be sentenced in person by the

Honorable Court.

       2.      On May 15, 2020, the Court scheduled Mr. Cabrero-Cabrera's sentencing hearing

for May 21, 2020. The undersigned has notified MDC-Guaynabo and has requested an emergency

call with Mr. Cabrero-Cabrera is awaiting a response.

       3.      It is necessary to discuss this matter again with Mr. Cabrero-Cabrera to secure all

the necessary waivers that he must consent prior to the sentencing hearing.

       4.      The undersigned will promptly file an informative motion regarding Mr. Cabrero-

Cabrera's current position regarding a VTC hearing and his sentencing hearing.

       WHEREFORE, it is respectfully requested that the Court take note of the current

information and allows for Mr. Cabrero Cabrera to inform the Court via motion as to his

Sentencing Hearing.
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       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 18th day of May 2020.

       I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

Attorney’s Office.


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